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                                UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF CALIFORNIA




   UNITED STATES OF AMERICA ,                  ) 1:07-CR-00264-AWI
                                               )
                   Plaintiff,                  )
          vs.                                  )
                                               )
   TARLOCHEN LASHER, and JASWINDER )
   LASHER                                      ) STIPULATION AND ORDER
                                               ) REGARDING OVERNIGHT TRAVEL
                   Defendants.                 )
                                               )
                                               )
                                               )
                                               )
                                               )
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         It is hereby stipulated by the parties hereto, by and through their undersigned attorneys of
record, that the above-named defendants are allowed to travel from their respective residences to
Pittsburgh, Pennsylvania for the purpose of conducting business meetings, between the times
and on the dates listed below
                          From 6:00 am on 6/16/08 until 10:00 pm on 6/19/08
         This stipulation and proposed order is submitted with the approval of Pretrial Services
Officer Jacob M. Scott.


DATED: June 10, 2008                                   /s/ Carl M. Faller
                                                       CARL M. FALLER
                                                       Attorney for Defendant
                                                       Tarlochan Lasher
                                                       /s/ Mark W. Coleman
                                                       MARK W. COLEMAN
                                                       Attorney for Defendant
                                                       Jaswinder Lasher




                                                       /s/ Sheila K. Oberto
                                                       SHEILA K. OBERTO
                                                       Attorney for the
                                                       United States of America


                                              ORDER


IT IS SO ORDERED.




Dated:    June 16, 2008                                  /s/ Anthony W . Ishii

0m8i78                                            UNITED STATES DISTRICT JUDGE
